 1   JAMES D. PERKINS, WSBA #12996
 2
     Attorney for the United States Trustee
     United States Dept. of Justice
 3   920 West Riverside, Room 593
     Spokane, WA 99201
 4
     Telephone (509) 353-2999
 5   Fax (509) 353-3124

 6                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF WASHINGTON
 7

 8   In re:                                        }
                                                   }   Case No: 18-03197-FPC11
 9
                                                   }
10
     GIGA WATT, INC                                }   AMENDED
                                                   }   APPOINTMENT OF COMMITTEE
11                                                 }   OF UNSECURED CREDITORS IN A
                                     Debtor        }   CHAPTER 11 REORGANIZATION CASE
12

13            The United States Trustee had previously appointed the following creditors of the above-
14
     named debtor to the committee of unsecured creditors.
15
              Brett Woodward, Inc.
16            307 SW 2nd St.
              Redmond, OR 97756
17
              (541) 504-5538
18
              Schmitt Electric, Inc.
19            1114 Walla Walla Ave.
20
              Wenatchee, WA 98801
              (509) 662-3518
21

22   The committee is amended to add the following creditors:
23
              Scott A. Glasscock
24            229 Craft Rd.
              Brandon, FL 33511
25
              (404) 632-7402
26
              John T. Winslow
27            5544 Las Virgenes Rd. #99
              Calabasas, CA 91302
28
              (818) 862-1257




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 1       Jun Dam
 2
         2116 L St, Unit 2
         Antioch, CA 94509
 3       (415) 748-1113
 4
         D A T E D this 29th day of January, 2019.
 5

 6                                                   Respectfully submitted,
 7
                                                     GREGORY M. GARVIN
 8                                                   Acting United States Trustee

 9
                                                      /s/ James D. Perkins
10
                                                     JAMES D. PERKINS
11                                                   Attorney for United States Trustee

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